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                                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                  vvww.f1sb.uscourts.gov
                                                      CHAPTER 13 PLAN Hndividual Adjustment of Debts)
                              □                                             Original Plan
                              [H FIRST                                      Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                              □                                             Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: Marianela Alonso Nadal                               JOINT DEBTOR:                                       CASE NO.: 25-13570-CLC

    SS#: xxx-xx- 5473                                             SS#: xxx-xx-
    I.           NOTICES

                 To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modifiedplans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.
                 To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                       on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section 111, which may result in a
                                                                                                                     I   I   Included         [■1     Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-moneysecurity interest, set                      I   I   Included
         out in Section 111
                                                                                                                                              [■]     Not included

         Nonstandard provisions, set out in Section IX                                                               [■]     Included         I   I   Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE


                 A.      MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the tmstee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $141.98               for months     1    to 36       ;

                 B.     DEBTORfSV ATTORNEY’S FEE:                                              □ NONE   □ PRO BONO
             Total Fees:                $5,200.00           Total Paid:                 $1,600.00        Balance Due:            $3,600.00

             Payable              $127.78           /month (Months      1    to 28      )

              Payable              $22.22           /month (Months 29        to 29 )
              Allowed fees under LR 20I6-1(B)(2) are itemized below;
              Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    HI.          TREATMENT OF SECURED CLAIMS                           □ NONE
                 A. SECURED CLAIMS:                 HI NONE
                 B. VALUATION OF COLLATERAL:                       0 NONE
                 C. LIEN AVOIDANCE ® NONE
                 D. SURRENDER OF COLLATERAL:                           □ NONE
                 Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                     0 The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                         request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                         personam as to any codebtor(s) as to these creditors.

                        □    Other:




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                                                                               Debtor(s): Marianela Alonso Nadal                  Case number: 25-13570-CLC

                              Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                              Exeter Finance LLC [POC#8] 4240                                     2013 Toyota Scion
                        1.

             E. DIRECT PAYMENTS                    □ NONE
             Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                 The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                  confirmation of this plan the automatic stay be terminated in rem as to the debtors) and in rem and in personam as to any
                  codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                              Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.l
                              Capital One Auto Finance      8051                                  2022 Toyota Highlander
                        1.
                              rPOC#l21
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                      H NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                             n NONE
                  A. Pay             $0.00        /month (Months         I    to 28   )

                        Pay         $105.56       /month (Months     29       to 29 )

                        Pay         $127.78       /month (Months     30       to 36 )

                        Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                  B. []] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                  C. SEPARATELY CLASSIFIED:                  jf] NONE
VI.         STUDENT LOAN PROGRAM                         [f] NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                          □ NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                    IP] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                             terminated in rem as to the debtor(s) and In rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                             herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                   Name of Creditor                         Collateral                                Acct. No. (Last 4 Digits’) Assume/Reiect
                   Luz Angeles                              1351 NE 191st ST, APT 401,                5473
             I.
                                                           North Miami Beach, FL 33179                                         H] Assume □ Reject
VIII.       INCOME TAX RETURNS AND REFUNDS:

                    [■1 Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS □ NONE
           (■] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                    Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                   Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                   before confirmation.

           □ Mortgage Modification Mediation




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                                                                     Delnoi(s): Marianda Alonso Nadal               Case nuniber: 25-13570-CI.C



                       PROPERTY OF THE ESTATE WIFE VEST tN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     declare that Ihc foregoing cliaptcr 13 plan is true and correct under penalty of perjtiiy.



 >                                          Debtor                                                           Joint Debtor
                                                            Date                                                                   Date
 Martan^a'A foTt5»-Naaal




 /s/ Jose A. Blanco. Esq.
                                                          Date
   Attorney with permission to sign on
     Debtor(s)' behalf who certHlcs that
     the contents of the plan have been
       reviewed and approved by the
                                   I
                      Debtor(s).


  By lllhig this docutnent, tlie Attorney for l)ebtor(s) or Dcbtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions otlier than those set out in paragraph IX.




‘This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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